             Case 3:13-cr-03569-W                     Document 69               Filed 04/21/14               PageID.160            Page 1 of 4


     ~AO 1458 (CASD) (Rev 12ill) Judgment in a Criminal Case
               Sheet J



                                              UNITED STATES DISTRlCT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA
                                        v.                                        (For Oflenses Committed On or Ailer November I. 1987)

                   OCTAVIO RAMIREZ ROBLES (3)                                     Case Number: I3CR3569-W

                                                                                   Gary Paul Burcham
                                                                                  Defendant's Attorney
     REmSTRATION NO. 45425298

    o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) ONE OF THE INDICTMENT

     o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          a/lcr a plea of not gUilty.
          Accordingly. the detendant is adjudged guilty of such count(s). which involve the following otfense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
2 I USC 846. 841 (a)(I)               COt\SPlRACY TO DISTRIBUTE METHAMPHETAMINE                                                                   I




        The defendant is sentenced as provided in pages 2 through _ _-'-__ of this judgment. The sentence is imposed pursuant
 to the Sentencing Rci(xnl Act of 1984.
  o   The defendant has been found not guilty on
  o   Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                            0       areD dismissed on the motion of the United States.

  ~ Assessm..:nt: $100.00



  ~ Fine waived                                    o    Forfeiture pursuant to order filed
                                                                                           ---------                      , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney tor this district within 30 days of any change of name. residence.
 or mailing address until all tines. restitution. costs. and special assessments imposed by this judgment are fully paid. lfordered to pay restitution. the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                              APRIL 21, 2014
                                                                             Date oflmposition of Sentence




                                                                             HON. THOMAS J. WH L
                                                                              UNITED STATES DlSTR

                                                                                                                                                 J3CR3569-W
        Case 3:13-cr-03569-W                      Document 69        Filed 04/21/14       PageID.161         Page 2 of 4

AO 2458 (CAS!)) tRev 12/1 I) Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                             Judgmem ~ Page _ _2_ of          4
 DEFENDANT: OCTA VIO RAMIREZ ROBLES (3)
 CASE NUMBER: 13CR3569-W
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FORTY-SIX (46) MONTHS




    D Sentence imposed pursuant to Title 8 USC Section I326(b).
    181 The court makcs the following recommendations to the Bureau of Prisons:
         That the defendant serve his custodial sentence in a western region facility




    D The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
           D at                                     Da.m.    Dp.m.    on
                as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D before
                 ------------------------------------------------------------------------------------------
       D as notitied by the United States Marshal.
       D as noti/ied by the Probation or Pretrial Services Ofliee.

                                                               RETURN

 I have executed this judgment as follows:

         Oclcndant delivered Oil                                                  to

 at ___________________ , with a certified copy of this judgment.


                                                                                           UNITED STA TES MARSHAL


                                                                     By
                                                                                        DEPUTY U~ITED STATES MARSHAL




                                                                                                                       13CR3569-W
          Case 3:13-cr-03569-W                    Document 69               Filed 04/21/14             PageID.162             Page 3 of 4

AO 245B (C.ASD) (Rev, 121111 Judgment in a Criminal Case
            Sheet 3 Supervised Release
                                                                                                              Judgment,-Page - L - of _ _4:..-_ _
DEFENDANT: OCTAVIO RAMIREZ ROBLES (3)
CASE NUMBER: I3CR3569-W
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons,
The defendant shall not commit another federal. state or local crime,
For o.fli?l1ses commilled on or uJier September 13, 1994:
The defendanl shall not illegally possess a controlled substance, The defendant shall refrain from any unlawful use ofa eontrolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requiremenls will not exceed submission of more than 8 drug tests per month during
the term ofsupervisioll, unless otherwise ordered by court                                           -­

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse, (Check, if applicable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon,
       The de1endant shal1 cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Racklog Elimination Act 01'2000, pursuant to 18 esc sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I, et seq,) as directed
       by the probation officer, the Bureau of Prisons, or any statc sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable,)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                       STANDARD CONDITIONS OF SUPERVISION

  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer ill a manner and frequency directed by the court or probation officer:
  3)    the defendant shall answer truthfully all inquiries by thc probation officer and follow the instructions of the probation officer;
  4)    the defcndalll shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive llse of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any pa;apherl1aLa I elated to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall noti fy the probation officer within seventy-two ho urs of being arrested or questioned by a law enforcement officer;
 12)    the defendanl shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)     as directed by the probation officer, the defendant sha 11 notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                           13CR3569-W
              Case 3:13-cr-03569-W                     Document 69         Filed 04/21/14           PageID.163             Page 4 of 4

       /\02458 (C/\SD) (Rev. J2ill Judgment in a Criminal Case
                    Sheet 4  Special ConditiolJs
                                                                                                           Judgment~Page   _ _4_ of _.....;4~_ _
       DEFENDANT: OCTAVIO RAMIREZ ROBLES (3)                                                          D
       CASE NUMBER: 13CR3569-W




                                             SPECIAL CONDITIONS OF SUPERVISION
D Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
   this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within   24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure,
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
~ The defendant shall not illegally enter the Un:ted StItes of America during the tenn of supervised release.
D Not enter or reside in the Republic of Mexico without written pennission of the Court or probation officer,
D Report all vehicles owned or ("perated, or in which you have an interest, to the probation oftker.
D Not possess any narcotic dmg or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of. or dealers in narcotics, controlled substances, or dangerous dmgs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be detennined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete dL,closure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation oilicer.
D Seek and maintain full time em~loyment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment. including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for ri~ciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute 10 t;le costs of services rendered in all alllount to be deteTI11ined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                           13CR3569-W
